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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                               Plaintiff,               Case No. CR20-137 JCC

10          v.                                            DETENTION ORDER

11   JULIUS B. SUPNET,

12                               Defendant.

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14   Offenses charged:

15          Count 1:       Conspiracy to Distribute Methamphetamine, Heroin, and Fentanyl in

16          violation of 21 U.S.C § 841(a)(1) and § 846

17          Count 12:      Possession of Heroin and Fentanyl with Intent to Distribute in violation of

18          21 U.S.C. § 841(a)(1) and § 841(b)(1)(B), (C)

19          Count 13:      Carrying a Firearm During and in Relation to a Drug Trafficking Crime in

20          violation of 18 U.S.C. § 924(c)

21          Counts 21, 25, 26:       Possession of Methamphetamine with the Intent to Distribute in

22          violation of 21 U.S.C. § 841(a)(1) and § 841(b)(1)(A)

23          Count 24:      Possession of Heroin with the Intent to Distribute in violation of 21 U.S.C.

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     DETENTION ORDER - 1
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 1          § 841(a)(1) and 841(b)(1)(B)

 2   Date of Detention Hearing: On September 22, 2020, the Court held a hearing via a WebEx

 3   videoconference, with the consent of Defendant who appeared via videoconferencing, due to the

 4   exigent circumstances as outlined in General Order 13-20. This detention order is without

 5   prejudice to reopening once the court has reconstituted in-person hearings or once there is an

 6   appropriate release plan.

 7          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

 8   based upon the reasons for detention hereafter set forth, finds:

 9          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

10          1.      There is a rebuttable presumption of detention pursuant to 18 U.S.C. § 3142(e).

11          2.      Defendant stipulated to detention at this time.

12          3.      Defendant poses a risk of nonappearance due to his history of failing to appear,

13                  outstanding warrants, pending felony charges, lack of a viable release plan, and

14                  unstable residential history. Defendant poses a risk of danger due to the nature and

15                  circumstances of the charged offenses, his pending Skagit County charges, and his

16                  prior criminal history. Based on these findings, and for the reasons stated on the

17                  record, there does not appear to be any condition or combination of conditions that

18                  will reasonably assure the Defendant’s appearance at future court hearings while

19                  addressing the danger to other persons or the community.

20          4.      Taken as a whole, the record does not effectively rebut the presumption that no

21                  condition or combination of conditions will reasonably assure the appearance of the

22                  Defendant as required and the safety of the community.

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 1         IT IS THEREFORE ORDERED:

 2         (1)    Defendant shall be detained pending trial, and committed to the custody of the

 3                Attorney General for confinement in a correction facility separate, to the extent

 4                practicable, from persons awaiting or serving sentences or being held in custody

 5                pending appeal;

 6         (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 7                counsel;

 8         (3)    On order of a court of the United States or on request of an attorney for the

 9                government, the person in charge of the corrections facility in which Defendant is

10                confined shall deliver the defendant to a United States Marshal for the purpose of

11                an appearance in connection with a court proceeding; and

12         (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

13                 counsel for the Defendant, to the United States Marshal, and to the United States

14                 Pretrial Services Officer.

15         Dated this 22nd day of September, 2020.

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18                                                      MICHELLE L. PETERSON
                                                        United States Magistrate Judge
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     DETENTION ORDER - 3
